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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 19 CR 677-LTS

ARMANDO BARBIER,

                 Defendant.

-------------------------------------------------------x


                                                           ORDER

                 The change of plea hearing in this case is scheduled to proceed on Tuesday

November 10, 2020, at 1:00 p.m. in Courtroom 17C. The parties’ attention is directed to the

attached information regarding Courthouse COVID-19 protocols.

                 The parties are directed to email Chambers at

SwainNYSDCorresp@nysd.uscourts.gov any documents they would like the Court to consider

during or in connection with the sentencing proceeding at least 24 hours in advance of the

proceeding. No hard copy documents will be accepted in the courtroom.

                 To access the audio feed of the conference, members of the press and public may

call 888-363-4734 and use access code 1527005# and security code #2563. Persons granted

remote access to proceedings are reminded of the general prohibition against photographing,

recording, and rebroadcasting of court proceedings. Violation of these prohibitions may result in

sanctions, including removal of court issued media credentials, restricted entry to future




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hearings, denial of entry to future hearings, or any other sanctions deemed necessary by the

court.



         SO ORDERED.

Dated: New York, New York
       November 5, 2020

                                                            __/s/ Laura Taylor Swain_________
                                                            LAURA TAYLOR SWAIN
                                                            United States District Judge




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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
